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                                         UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF INDIANA
                                            INDIANAPOLIS DIVISION


   FREEDOM FROM RELIGION FOUNDATION, INC.,                 )
   STEVE KRISTOFF,                                         )
   RENANA GROSS,                                           )
                                                           )
                                Plaintiffs,                )     No. 1:14-cv-02047-TWP-DML
                                                           )
                       vs.                                 )
                                                           )
   FRANKLIN COUNTY, INDIANA,                               )
                                                           )
                                Defendant.                 )

                                      ENTRY FOR DECEMBER 19, 2014
                               FOR MAGISTRATE JUDGE DEBRA MCVICKER LYNCH

                                              ORDER VACATING HEARING

        On the agreement of the parties, the preliminary injunction hearing set for December 22, 2014 is
 vacated.

         The Magistrate Judge will schedule a conference with counsel to address discovery, briefing, and
 the rescheduled hearing.


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